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UNITED STATES OF AMERICA,                   CASE NO. 15CR0729-GPC

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
VANESSA CRYSTAL MEDINA (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 x __ the Court has granted the motion of the Government for dismissal,
      without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

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 X__ of the offense(s) as charged in the Indictment:

     8 USC 1324 (a) (1) (A) (ii) , (v) (II), and (a) (1) (B) (i) - Transportation of

     Illegal Aliens for Financial Gain and Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defe~~~~e hereby discharged.


DATED: April 14, 2015
                                            Karen S.
                                            U.S. Magistrate Judge
